                                      Case 14-10979-CSS                                     DocEFH3147-1             Filed 12/29/14
                                                                                                  Fee Report Summary (FN)
                                                                                                                                                                    Page 1 of 1
                                                                                                         as of 12/28/2014




                                                                     Interim Application
                                           Retention     Retention   (date filed, docket                                                                                  Expenses
                                           Application   Order       number, period of                            Expenses        Status of Fee          Fees Approved by Approved by          Contested    Schedule
Professional                               Filed         Entered     interim application)   Fees Requested        Requested       Committee Review       Committee        Committee              Issues    Requested

Debtors' Professionals
                                                                                                                                  Confidential Letter
                                           5/29/2014     9/16/2014 10/31/2014 #2683                                               Report Due                                                                Hearing
Kirkland & Ellis LLP - Counsel             #660          #2052      4/29 to 8/31/2014           $25,600,790.50      $1,248,049.03 12/30/2014                                                               1/26/2015
Richards, Layton & Finger, P.A. - Co-      5/29/2014     10/24/2014
Counsel                                    #659          #2539      Not on file
                                                                                                                                  Confidential Letter
Alvarez & Marsal North America, LLC -      5/29/2014     9/16/2014   10/31/2014 #2678                                             Report Due                                                                Hearing
Restructuring Advisor                      #661          #2055       4/29 to 8/31/2014            $6,393,405.00       $262,727.78 12/30/2014                                                               2/17/2015
                                                                                                                                  Confidential Letter
Deloitte & Touche LLP - Independent        5/29/2014     10/29/2014 11/26/2014 #2901                                              Report Due                                                                Hearing
Auditor                                    #656          #2617      4/29 to 8/31/2014             $2,072,499.50                   12/30/2014                                                               2/17/2015
                                                                                                                                  Confidential Letter
Evercore Group LLC - Investment            5/29/2014     9/26/2014   11/04/2014 #2700                                             Report Due                                                                Hearing
Banker and Financial Advisor               #651          #2056       4/29 to 8/31/2014            $7,600,000.00       $368,611.55 12/30/2014                                                               2/17/2015
                                                                                                                                  Confidential Letter
                                           5/29/2014     9/16/2014   11/18/2014 #2806                                             Report Due                                                                Hearing
KPMG - Accounting and Tax Advisors         #652          #2054       4/29 to 8/31/2014            $1,248,506.95        $91,466.65 12/30/2014                                                               2/17/2015

                                                                                                                                  Confidential Letter
Filsinger Energy Partners - Energy         9/2/2014      9/26/2014   11/10/2014 #2733                                             Report issued                                                              Hearing
Consultant                                 #650          #2057       4/29 to 8/31/2014            $3,798,436.00       $192,989.61 12/15/2014.                 $3,736,612.00      $191,972.15     None      12/29/2014
                                                                                                                                  Confidential Letter
Gibson, Dunn & Crutcher LLP - Special      5/29/2014     9/16/2014   10/30/2014 #2657                                             Report issued                                                              Hearing
Counsel                                    #662          #2058       4/29 to 8/31/2014             $786,925.00          $1,835.07 12/15/2014.                   $775,347.00        $1,793.65     None      12/29/2014
                                                                                                                                  Confidential Letter
McDermott Will & Emery LLP - Special       5/29/2014     9/16/2014   10/31/2014 #2679                                             Report Due                                                                Hearing
Counsel                                    #664          #2062       4/29 to 8/31/2014             $474,034.25         $72,166.43 12/30/2014                                                               2/17/2015
                                                                                                                                  Confidential Letter
                                           5/29/2014     9/16/2014   10/31/2014 #2693                                             Report Due                                                                Hearing
Sidley Austin LLP - Special Counsel        #665          #2060       4/29 to 8/31/2014            $2,327,235.30        $24,009.87 12/30/2014                                                               2/17/2015
                                                                                                                                  Confidential Letter
Thompson & Knight LLP - Special            5/29/2014     9/16/2014   11/17/2014 #2789                                             Report issued                                                              Hearing
Counsel-Tax-Related Matters                #653          #2061       4/29 to 8/31/2014             $575,740.50          $8,518.75 12/15/2014.                   $575,044.00        $8,350.83     None      12/29/2014
                                           4/29/2013     5/2/2014
EPIQ Bankruptcy Solutions, LLC -           #24           #321
Claims/Noticing Agent and                  5/29/2014     9/16/2014
Administrative Advisor                     #663          #2053       Not on file

T-Side Committee Professionals


                                                                                                                                  Confidential Letter
                                           7/25/2014     10/20/2014 10/31/2014 #2672                                              Report issued                                                             Hearing
FTI Consulting, Inc. - Financial Advisor   #1699         #2507      5/19 to 8/31/2014             $3,300,549.00       $142,783.00 12/17/2014.                                                              2/17/2015

                                                                                                                                  Confidential Letter
Lazard Freres & Co., LLC - Investment      7/25/2014     10/20/2014 11/10/2014 #2726                                              Report issued                                                             Hearing
Banker                                     #1700         #2509      5/14 to 8/31/2014              $895,161.29         $54,437.59 12/16/2014.                                                              2/17/2015
                                                                    10/30/2014 #2671
                                                                    11/25/2014 #2891                                              Confidential Letter
                                           7/25/2014     9/16/2014 (supplement)                                                   Report issued                                                              Hearing
Morrison & Foerster LLP - Counsel          #1696         #2064      5/12 to 8/31/2014             $7,915,409.50       $166,982.01 12/16/2014.                 $7,775,744.75      $151,727.23     None      12/29/2014
                                                                                                                                  Confidential Letter
                                           7/25/2014     10/17/2014 10/31/2014 #2674                                              Report Due                                                                Hearing
Polsinelli PC - Co-Counsel                 #1698         #2491      5/13 to 8/31/2014              $500,927.50         $32,695.04 12/30/2014                                                               2/17/2015

E-Side Committee Professionals


Totals                                                                                         $63,489,620.29 $2,667,272.38                                $12,862,747.75       $353,843.86




12706760.1                                   (FN) Fee Committee Counsel will submit an updated summary prior to the status conference reflecting the current status of each application.
